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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  UNITED STATES OF AMERICA,                 )
                                            )
                       Plaintiff,           )
                                            )
                v.                          )       Cause No. 2:15-cr-72
                                            )
  ANTON LAMONT JAMES,                       )
                                            )
                       Defendant.           )

                                    OPINION & ORDER

         Defendant Anton Lamont James has filed a Motion to Dismiss or, in the

  Alternative, To Sever, which alleges violations of the Speed Trial Act. (DE 653.) He

  argues that the delay in trying this case between December 18, 2016, and October 16,

  2017, is not excludable under the Act and that he has been prejudiced by this violation

  of the law. (Id.; DE 704 at 1–2.) I have reviewed the entries on the docket pertaining to

  excludable time, audio recordings of the hearings held by Magistrate Judge Andrew

  Rodovich, and the parties’ briefs, and I heard oral argument by the parties. For the

  reasons below, James’s motion is denied.

                                    The Speedy Trial Act

         The Speedy Trial Act requires me to dismiss an indictment on the motion of the

  defendant if more than 70 days has passed between the defendant’s appearance and the

  beginning of the trial. 18 U.S.C. § 3162 (a)(2). However, the Act includes a “long and

  detailed list of periods of delay that are excluded in computing the time within which
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  trial must start.” Zedner v. United States, 547 U.S. 489, 506–7 (2006) (citing 18 U.S.C.

  § 3161(h)). Two of the enumerated delays are at issue here:

                 (6) A reasonable period of delay when the defendant is joined
                 for trial with a codefendant as to whom the time for trial has
                 not run and no motion for severance has been granted.

                 (7)(A) Any period of delay resulting from a continuance . . . , if
                 the judge granted such continuance on the basis of his findings
                 that the ends of justice served by taking such action outweigh
                 the best interest of the public and the defendant in a speedy
                 trial.

  18 U.S.C. § 3161(h)(6)–(7).

         Section 3161(h)(7) also delineates certain factors that the court must consider in

  deciding whether a continuance is excludable under the “ends-of-justice” provision,

  two of which are relevant here:

                 (ii) Whether the case is so unusual or so complex, due to the
                 number of defendants, the nature of the prosecution, or the
                 existence of novel questions of fact or law, that it is
                 unreasonable to expect adequate preparation for pretrial
                 proceedings or for the trial itself within the time limits
                 established by this section.
                                               ...
                 (iv) Whether the failure to grant such a continuance in a [non-
                 complex] case . . . would unreasonably deny the defendant or
                 the Government continuity of counsel, or would deny counsel
                 for the defendant or the attorney for the Government the
                 reasonable time necessary for effective preparation, taking into
                 account the exercise of due diligence.

  18 U.S.C. § 3161(h)(7)(B)(ii), (iv).

         To exclude time from the speedy trial clock under the ends-of-justice provision in

  section 3161(h)(7), the court is required to “set forth, in the record of the case, either


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  orally or in writing, its reasons for granting an ends-of-justice continuance.” United

  States v. O’Connor, 656 F.3d 630, 636 (7th Cir. 2011) (citation and internal quotation

  marks and brackets omitted). The Act does not specify when the findings made at the

  time of the continuance must be put into the record, but “at the very least the Act

  implies that the district court must enter the findings into the record not later than the

  time the court rules on a defendant’s motion to dismiss.” Id. (citing Zedner, 547 U.S. at

  507) (emphasis in original) (internal quotation marks omitted).

                                           Discussion

         James concedes that the delays between July 27, 2015, and December 18, 2016

  were excludable from the speedy trial clock, but I will start at the beginning because

  Judge Rodovich’s earlier findings about the exclusion of time informed his later ones.

         July 27, 2015 – October 5, 2015

         James’s speedy trial clock began to tick on July 16, 2015, when the two-count

  indictment charging him with murder in aid of racketeering and use of a firearm during

  and in relation to a crime of violence was unsealed. (DE 1; DE 4.) James was arraigned

  eleven days later, and at that time Judge Rodovich asked the parties about the death-

  penalty eligible case and the time needed for discovery. He also asked James’s then-

  attorney, Matthew Soliday, whether he objected to a continuance, and he did not. Judge

  Rodovich then made oral findings on the record that the delay from July 27, 2015, and

  October 5, 2015, was excludable because the case is complex and would involve

  extensive discovery and noted that he had “considered both the public interest and the


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  defendant’s interest in a speedy trial and, due to the complexity of the case, believe[d]

  that more time was necessary to allow James’s attorney to prepare.” See generally 18

  U.SC. § 3161(h)(7)(A)–(B).

         October 5, 2015 – November 25, 2015

         The next hearing was held on October 5, 2015. The parties updated Judge

  Rodovich on the status of discovery, and James’s attorney requested a second

  continuance to allow more time for discovery and investigation. Judge Rodovich asked

  whether James objected to exclusion of the continuance under the Speed Trial Act, and

  counsel said that he did not. Judge Rodovich made oral findings on the record that “due

  to the nature and extent of this case and the fact that it is a death penalty eligible case, I

  will find the time period between now and November 25th to be excluded, considering

  both the public interest and the defendant’s interest in a speedy trial.” See generally id.

         November 25, 2015 – January 20, 2016

         At the next status hearing on November 25, 2015, the parties informed the court

  that some discovery remained outstanding. In addition, the government notified the

  court that it would be filing a superseding indictment naming additional defendants in

  the next few weeks and that, even though it no longer intended to seek the death

  penalty, it believed that the case remained complex. Judge Rodovich proposed a

  continuance until January 20, 2016, and James’s attorney stated that he had no objection

  to a finding that the delay was excludable under the Speed Trial Act. Judge Rodovich

  then made the following oral findings:


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                 Considering both the public interest and the defendant’s
                 interest in a speedy trial, I previously determined that this was
                 a complex case. Due to the superseding indictment and the
                 possible addition of additional parties, I will find the matter
                 between now and January 20th excludable.

  See generally id.

         On December 2, 2015, the government filed a superseding indictment, naming 16

  additional defendants in a wide-ranging RICO conspiracy involving the Latin Kings.

  (DE 20.) It is well-settled that “a new 70-day speedy trial period commences with the

  appearance of a later-added defendant[,]” and so James’s speedy trial clock was reset.

  See United States v. Adams, 625 F.3d 371, 377–78 (7th Cir. 2010) (citations omitted). Judge

  Rodovich held a hearing on December 14, 2015, at which James was represented by a

  new attorney, David Vandercoy. Vandercoy stated that he had not yet picked up the

  discovery from James’s prior attorney. The government informed the court that it

  would be producing a new set of discovery related to the RICO charge before January

  20, 2016, the date set for James’s arraignment on the superseding indictment, and that it

  continued to believe that the case was complex. Judge Rodovich agreed: “this is a

  complex case, and . . . the time period between now and the arraignment on the 20th

  should be excluded. I have considered both the defendant’s interest and the public’s

  interest in a speedy trial.” See generally 18 U.SC. § 3161(h)(7).

         January 20, 2016 – October 21, 2016

         At the January 20, 2016 hearing, the defendants updated the court on discovery,

  and Judge Rodovich set a briefing schedule for pretrial motions that would culminate in


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  the filing of replies on October 21, 2016. He also set trial for all defendants on January

  20, 2017. When Judge Rodovich asked the parties whether there was any objection to his

  previous determination that the case was complex, neither James nor any other party

  objected. Judge Rodovich then made the following oral findings:

                 Due to the complexity of the case, I will find that considering
                 both the public’s interest and the defendants’ interest in a
                 speedy trial, that the time period between now and the filing
                 and briefing and ruling on the motions should be excluded.

  See generally id.

         August 16, 2016 – November 18, 2016

         In July 2016, the government filed the Second Superseding Indictment, which

  charged nine additional defendants, bringing the total to 26 and again resetting James’s

  and the other defendants’ speedy trial clocks. (See DE 260.) At a hearing on August 16,

  2016, the government informed the court that all discovery would be produced within

  four weeks, and the court set a briefing schedule for pretrial motions by the new

  defendants that would allow them to be tried with the previously indicted defendants,

  who were set to be tried on January 9, 2017. (See DE 374.) Judge Rodovich renewed his

  earlier findings that this case is complex “in light of the second superseding indictment

  and the fact that the case has gotten bigger” and that another continuance for

  “reviewing discovery and filing pretrial motions should be excluded considering both

  the public’s interest and the defendants’ interest in a speedy trial.” See generally 18 U.SC.

  § 3161(h)(7). It bears noting that, although James’s attorney lodged an objection to any

  continuance of the trial beyond January 2017 at the August 16th hearing, he did not

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  object to the exclusion of the continuance to November 18, 2016, and, in any event, he

  concedes in his reply that this delay was properly excluded. (See DE 704 at 2.)

        November 17, 2016 - October 16, 2017

        That takes us to November 17, 2016, when one of James’s more recently charged

  co-defendants, Efren Delangel, filed a motion to continue the final pretrial conference

  and the trial, to allow more time for discovery. (DE 458.) Delangel was indicted more

  than a year after James, and so he had not had the benefit of several continuances to get

  through the voluminous discovery. Delangel’s motion noted that James objected to the

  continuance, but James neither filed a formal objection nor moved to sever his trial from

  the trial of the other defendants. On November 30, 2016, Judge Rodovich granted

  Delangel’s motion to continue. (DE 471.) The time between the filing of Delangel’s

  motion and its disposition (November 17–30, 2016) was excludable from all defendants’

  speedy trial clocks pursuant to section 3161(h)(1)(D). In addition, Judge Rodovich’s

  order found that the time between November 30, 2016 and the new trial date of October

  16, 2017 was excludable with respect to Delangel pursuant to section 3161(h)(7)(A)

  because Delangel had been diligent and because:

               the ends of justice served by granting such a continuance
               outweigh the . . . interest of the public and the defendant in a
               speedy trial, particularly where a failure to grant such a
               continuance would unreasonably deny [Efren Delangel] the
               reasonable assistance of counsel and the time necessary for
               effective preparation for trial and for the preparation of
               pretrial motions[.]




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  (Id.) Judge Rodovich found that the delay was excludable with respect to the other

  defendants—including Mr. James—pursuant to section 3161(h)(6), which allows the

  exclusion of a reasonable period of time when there are co-defendants and no motion

  for severance has been granted. (DE 471 at 1.)

         After the November 30, 2016 order was entered, James took no action to sever his

  trial and requested no other relief from the court, until several months later (and after

  the government had filed a Third Superseding Indictment charging even more

  defendants), when he filed the instant motion. (See generally DE 496; DE 653.) The

  defendants added in the Third Superseding Indictment have been severed from the

  defendants in the Second Superseding Indictment. So the filing of Third Superseding

  Indictment has had no effect on Mr. James from a speedy trial point of view. In any

  event, James now argues that Judge Rodovich did not support his earlier section

  3161(h)(7) ruling with respect to James and that the delay until October 2017 could not be

  excluded pursuant to section 3161(h)(6) because a ten-month delay is not

  “reasonable”as required by that provision. (DE 704 at 2–3.)

         I disagree and find nothing deficient in Judge Rodovich’s November 30, 2016

  order. Judge Rodovich was not required to make a record of his reasons for excluding

  the delay until trial from James’s speedy trial clock under section 3161(h)(7) because the

  judge did not exclude time from James’s clock pursuant to that provision. Instead, the

  ends-of-justice findings in Judge Rodovich’s order pertained to the exclusion of time




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  from the speedy trial clock of Delangel, the movant—and those findings were sufficient

  to satisfy section 3161(h)(7)(A). (See id. at 1–2 (referring to a single defendant).)

         Judge Rodovich’s November 30, 2016 order found the delay excludable from

  James’s speedy trial clock by way of a different provision, section 3161(h)(6). (Id. at 1.)

  Under that section, the “excludable delay of one defendant [whose clock has not run]

  may be ascribed to an unsevered codefendant provided that the delay is reasonable.”

  U.S. v. Piasecki, 969 F.2d 494, 500 (7th Cir. 1992) (citation omitted); 18 U.S.C. § 3161(h)(6).

  When Judge Rodovich entered the order, Delangel’s clock had not run, and no motion

  to sever had been granted (or even filed), and so section 3161(h)(6) allowed the

  exclusion of a reasonable delay from James’s clock.

         Nor has James explained why ten months should be deemed an unreasonable

  delay, given the facts of this case. See generally United States v. Dennis, 737 F.2d 617, 621

  (7th Cir. 1984). “The Legislative history of section 3161(h)(7) illustrates a strong

  congressional preference for joint trials and an intention that delays resulting from the

  joinder of defendants be liberally excluded.” Id. (internal quotation marks and citation

  omitted) (referring to section 3161(h)(6) by its former numbering). This case involves a

  gang conspiracy alleged to span more than a decade and involve dozens of actors in a

  variety of criminal endeavors, and it is undoubtedly complex, as Judge Rodovich

  determined on numerous occasions. On this record and based on the foregoing analysis,

  ten months is a reasonable delay, and there was no violation of the Speedy Trial Act.




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                                      Conclusion

       Accordingly, James’s Motion to Dismiss or, in the Alternative, to Sever (DE 653)

 is DENIED.

       SO ORDERED.

       ENTERED: May 22, 2017.

                                          s/ Philip P. Simon
                                         JUDGE, UNITED STATES DISTRICT COURT




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